Case 1:04-cv-10981-PBS Document 1712-3 Filed 03/12/09 Page 1 of 8

EXHIBIT 2
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN : MDL DOCKET NO. 1629

MARKETING, SALES
PRACTICES AND PRODUCTS

LIABILITY LITIGATION :
~- +--+ ------------------ : MASTER FILE NO.

THIS DOCUMENT RELATES TO: >: 04-10981

Bulger,v. Pfizer, Inc.,

et al.
Case No. 05-CV-11515-PBS
VIDEOTAPE DEPOSITION OF STEFAN P. KRUSZEWSKI, M.D.
VOLUME I (Page 1 -, 4344)
Taken in the sburg Hilton,
located at 1 North Second § t, Harrisburg,

Pennsylvania, on nee ctober 15, 2008,

commencing at 9:07 a efore Sally A. Slifer,

Registered Merit YC Certified Realtime

Reporter, and Rob@t Cowalchik, Videographer.

APPEARANCES:

FINKELSTEIN & PARTNERS, L.L.P.
BY: KENNETH FROMSON, ESQ.
785 Broadway, 3rd Floor
Kingston, NY 12401

-- For the Plaintiff

 

 

 

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62 64
1 Q I am handing you now what is marked now as 1 Susan Bulger, that information was -- I don't know if
2 Exhibit 2 to your deposition. Can you please tell us 2 you used the word coalesced -- or culminated I think
3 for the record what that is? 3 you said, it culminated in the exhibits that are
4 A. That is a 37 page copy of my expert report 4 referenced in your report, is that correct?
5 prepared in the Susan Bulger versus Pfizer litigation. 5 MR. FROMSON: Objection to form.
6 Q.  - What is the date that that was prepared? 6 A. Yes, { took pieces of information that I
7 A, August 7, 2008. 7 thought were helpful to explain my conclusions or to
8 Q. Does that contain all the opinions you intend 8 — support them from any and all exhibits, including in
9 to give in the Bulger case? 9 part from the response to your interrogatories, I
10 MR. FROMSON: Objection as to form. 10 believe J used that as will.
11 A. Yes, I believe so. 11 Q. Would it be fair to say that the exhibits on
12 Q 1 am looking at the copy of the report that 12 page 13 of your report through page -- well, to the
13 you brought here with you today, and it has some 13. top of page 27, those are the portions of the record
14 _ highlighting that looks like it was done on the 14 in the Bulger matter that were important to your
15 computer, correct? 15 opinions in the case?
16 = A.« (Witness nods head.) 16 MR. FROMSON: Objection as to form.
17: Q. If you will just take a look at that, can you 17 «A. Yes.
18 tell me why there is highlighting related to your 18 Q. Also on page four of your report, there's a
19 report and the discussion of academic teaching 13 section entitled review of documents?
20 assignments on page two, published articles on page [20 A. I'm sorry.
21 two, and then the entire top half of page three; why |21 Q. Page four of your report.
22 is that highlighted. 22 A. Okay.
23 A, You mean why is it not highlighted here? 23 Q. It goes through page seven of your report, to
24 Q. Why have you highlighted it in your report? 24 the top of page seven.
25  Tassume that's highlighting you prepared? 25 A. Yes.
63 65
1 A. It's actually not. I can't tell you exactly 1 Q. Arse these all of the materials that you
2 how this happens, but sometimes in the reports that I 2 reviewed to formulate your opinions as expressed in
3 prepare, when items are copy and pasted, and J don't 3 your report dated August 7th, 2008?
4 understand this in terms of formatting, but it is copy 4 A, If you include the reviewed documents as well
5 and pasted in its entirety, and that's the way it 5 as the additional information, yes.
6 shows up on a final copy. 6 Q. Is there anything you have reviewed that you
7 Q. So the portions in that report relating to 7 rely on for purposes of your opinion in the Bulger
8 your — let's see, is it under the heading of relevant 8 matter since the time you drafted this report that is
9 educational and clinical background information? 9 not referenced under review of documents and
10 A. Yes. 10 additional information on pages four to seven of your
11 Q The highlighting under that section in your 11 report?
12 copy of the report is as a result of that information 12. A. Possibly.
13 being cut and paste from somewhere else and putinto {13 Q. And can you tell us what that is?
14 this report in Bulger, correct? 14 A. It's actually already here. J was
15 A. It probably was, yes. 15 thinking -- I stopped for a moment on page 35 with
16 Q Do you know where that is cut and pasted 16 Bettina Schmitz’s article on the effects of
17 from, is that from other litigation reports? 17 anti-epileptic drugs on mood and behavior from 2006.
18 A. It probably would be from another litigation 18 [just re-read that and I wasn't sure it was on my --
19 report, yes. 19 Q. That's reference number 70 in your addendum?
20 Q. Is there anything else highlighted in your 20 A. It is.
21 copy of the report? 21 Q. _ Isthe Bettina Schmitz article contained in
22 A. I don't believe so. No. 22 your original reference list from your general
23 Q. I think you testified earlier, correct me if 23 causation report?
24 lam wrong, that based on your review of the 24 Aw I don't believe it is, but we can check.
25 depositions in the case and the medical records of 25 Q. Did you include the Bettina Schmitz article

 

17 (Pages 62 to 65)

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IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LAKE

--000-~

NICOLETTE CRONE, et al., +)
)
Plaintiffs, )
)

vs. ) No. CV 400432
)
)
PFIZER INC., et al., )
)
Defendants. )

 

 

VOLUME I oo

VIDEOTAPED DEPOSITION OF STEF RUSZEWSKI, M.D.
DATE: November 17, ee
TIME: 8:58 a.m. GW

LOCATION: Shook, &) & Bacon
333 Bu reet, Suite 600
a

San Fr sco, CA

REPORTED BY: Kenneth T. Brill
| Registered Professional Reporter
Certified Shorthand Reporter No. 12797

Job No. 179354

 

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4
1 INDEX 1 THE VIDEOGRAPHER: Good moming. My name 08:58:08
5 Examination ty Ms MeGdet _ 5 2 is Benjamin Gerald of Veritext Deposition Services. 08:58:09
4 3 The date today is November 17th, 2008, and the 08:58:14
6 EXHIBITS MARKED FOR IDENTIFICATION 4 time is approximately 8:58 am. This deposition is 08:58:17
7 1° be Kuen Page 5 being held in the office of Shook, Hardy & Bacon, 08:58:20
8 . zewski's notes on yellow . -5Q.
loose leaf pad made duringdep 15 6 located at 333 Bush Street, San Francisco, 08:58:25
9 > OR Stefan Krus 7 Califomia. 08:58:28
rt i, MD.
10 Sport of Ste zewski, M.D. 27 8 The caption of this case is Nicolette 08:58:29
3 County of Lake Coroner's Report 9 Crone, et al. versus Pfizer Incorporated, etal., 08:58:32
11 for Rick Arthur Crone, dated . :
4/14/2002 34 10 held in the Superior Court of the State of 08:58:38
12 . 11 California, County of Lake. The name of the witness 08:58:40
4 Correspondence ftom Jack E, Miller . . ee.
13 to Christine Nabor, Ph.D., dated 12 is Stefan Kruszewski, M.D. 08:58:43
14 April 15, 1999 Sl 13 At this time, the attorneys will identify 08:58:47
5 Correspondence from Scott Sherman 14 themselves and the parties they represent, after 08:58:48
15 addressed to “To Whom It May 15 whi ill, of Veritext 08:58:51
Concem" May 16, 2005, Bates ich our court reporter, Ken Brill, o: eri
16 Range SLS000001 through 000018 = 112 16 Deposition Services, will swear in the witness and 08:58:53
17. 6 Mendocino County Mental Health 7 58:
Services Progress Notes for Ben 17 we can proceed, 08:58:55
18 Crone, Bates range Ben - MCMH 0003 18 MR. ALTMAN: Keith Altman, Finkelstein & 08:58:56
19 through 0012 160 19 Partners, Newberg, New York, for the plaintiffs. 08:58:57
7 Redbud Community Hospital 20 MR. FIETZ: Jeremy Fietz, Edgar Law Firm, 08:58:58
20 Prescription Refills records for tps wos BQ,
Rick Crone 066 21 Santa Rosa, California, for the plaintiffs. 08:59:01
21 22 MS. McGRODER: Lori McGroder, Shook, Hardy 08:59:03
8 Handwritten notes made on scrap . +504
22 of paper during deposition 404 23 & Bacon, representing Pfizer Defendants. 08:59:06
23 24 MS. BERMAN: Kendra Berman, from the law 08:59:08
oa 25 offices of Steven Hillyard, representing 08:59:10
5
1 APPEARANCES: 1 Dr. Jennings. 08:59:10
2
FINKELSTEIN & PARTNERS 2 MS. STEVENSON: Jennifer Stevenson, Shook, 08:59:12
3 a0 Rene a00 AN ESQUIRE 3 Hardy & Bacon, representing the Pfizer Defendants. 08:59:13
4 Newberg, NY 12551 4 STEFAN KRUSZEWSKI M.D., after 08:59:14 -
(845) 563-0204 . »&Q>
5 kaltman@lawampmmt.com 5 having been first duly sworn, was 08:59:14
and 6 examined and testified as follows: 08:59:14
6 EDGAR LAW FIRM eo.
BY: JEREMY R. FIETZ, ESQUIRE 7 oes 08:59:14
7 408 College Avenue 8 EXAMINATION 08:59:14
Santa Rosa, CA 95401 .
8 (707) 545-3200 9 --- 08:59:22
jeremy@classattomeys.com . -5Q-
6 R ing the Plaintiff 10 THE VIDEOGRAPHER: Thank you. Please 08:59:23
10 11 ~~ proceed. 08:59:25
11
SHOOK, HARDY & BACON LLP 12 ~000- 08:59:25
12 BY: LORI CONNORS MOGRODER, ESQUIRE 13 BY MS. McGRODER: 08:59:25
13 2555 Grand Boulevard ESQ 14 Q. Allright. Dr. Kruszewski, you wrotea 08:59:25
Kansas City, MO 64108-2613 ‘ 2 -8Q:
1 (816) 474.6550 15 report in the Crone case dated December 9th, 2007; 08:59:27
Imegroder@shb.com 16 is that correct? 08:59:31
te Representing the Pfizer Defendants 17 A. Thatis correct. 08:59:32
7 18 Q. And that report contains the opinions that 08:59:33
LAW OFFICES OF STEVEN D. HILLYARD, APC : : at -5Q:
18 BY: KENDRA BERMAN, ESQUIRE 19 you are going to offer in the Crone matter; is that 08:59:37
345 California Street, Suite 1770 2 59:
19 San Francisco, CA 94105 0 correct? 08:59:39
(415) 334-6880 21 A. Itis correct. 08:59:39
20 Fateuts the Deth alan! De Jennings 22  Q. Doesit contain all ofthe opinions you 08:59:40
3 Oo- 23 intend to offer in the Crone case? 08:59:44
23 - 24 A. Yes, I believe so. 08:59:45
: ALSO PRESENT: Benjamin Gerald, Videographer 25 Q. When is the last time you reviewed that 08:59:46
2 (Pages 2 to 5)

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6 8
1 report? 08:59:48 1 Q. And is your understanding about who 09:02:03
2 A. Last night. 08:59:49 2 prepared the psychological autopsy in the Crone case 09:02:04
3 MR. ALTMAN: Can you go off the record for 08:59:50 3 based on the testimony of Dr. Maris in the Bulger 09:02:07
4 onesecond? | think there is some confusion over 08:59:53 4 matter, where he testified that a member of the 09:02:11
5 the date of the report. 08:59:55 5 Finkelstein Jaw firm filled out the psychological 09:02:14
6 THE VIDEOGRAPHER: The —the time is 08:59:57 | 6 autopsy form for that case? 09:02:17
7 8:59 a.m., and we are off the record, 08:59:58 7 MR. ALTMAN: Objection. Lacks —lackof 09:02:19
8 so 09:00:00 8 foundation, assumes a fact not in evidence. 09:02:20
9 (iscussion held off the record.) 09:00:00 9 THE WITNESS: In part. It was alsotold 09:02:23
10 --- 09:00:22 10 tome by Mr. Fromson in our prior deposition in 09:02:25
11 THE VIDEOGRAPHER: The time is 09:00:28 | 11 Harrisburg. 09:02:29
12 9:00 o'clock, and we are back on the record. 09:00:29 12 BY MS. McGRODER: 09:02:29
13. BY MS. McGRODER: 09:00:32 13 Q. For the Bulger case? 09:02:31
14 Q. And you also identified, Dr. Kruszewski, 09:00:33 14 A. For the Bulger case. 09:02:33
15 certain materials that you reviewed in conjunction 09:00:35 15 Q. Okay. Allright. Yes, we've spenta 09:02:34
16 with the formulation of your opinions in the Crone 09:00:38 16 little bit of time together over the past several 09:02:36
17 case in that report; correct? 09:00:40 17 months; haven't we? 09:02:40
18 A. That is correct. 09:00:42 18 A. We have. 09:02:41
i9 Q. And are those all of the materials that 09:00:43 19 Q. All right. And, you know, I - there will 09:02:41
20 you've rev- — reviewed in the Crone matter? 09:00:45 20 be times when J will be asking you some of the 09:02:42
21 A No. 09:00:47 21 similar or same types of questions, in particular 09:02:45
22 Q. Sosubsequent to December 9, 2007, you 09:00:48 22 about risk factors associated with suicide that . 09:02:45
23 reviewed additional materials? 09:00:50 23 you've previously answered in the Bulger case. And 09:02:47
24 A. Idid. 69:00:52 24 just want you to understand that, you know, we may 09:02:50
25 Q. What did you review? 09:00:53 25 have to go over some of those again because you're 09:02:51
7 9
1 A. I was furnished with more documents, 09:00:54 1 testifying in a different matter; correct? 09:02:54
2 including the Long Valley health records of 09:00:57 2 A. Correct. 09:02:56
3 Mr. Crone, probably in the last month. 09:01:02 3 Q. And you understand that? 09:02:57
4 Talso reviewed Dr. Maris's report, and 09:01:07 4 A. Ido. 09:02:58
5 the psychological autopsy, which I believe was put 09:01:11 5 Q. Okay. You've testified that in virtually 09:02:58
6 together by the Finkelstein firm in preparation for 09:01:15 6 every suicide there is a precipitating event. Is 09:03:03
7 Dr. Maris's subsequent report. 09:01:19 7 ~~ that your opinion? 09:03:07
8 Q. Well, the psychological autopsy you're 09:01:24 8 A. Itis. 09:03:08
9 referring to is the one that Mr. Maris uses asa 09:01:26 9 Q. And is that your opinion inthe Crone 09:03:09
10 matter of course in testimony and litigation; 09:01:30 10 case? 09:03:11
11 correct? 09:01:32 11 A. Yes. 09:03:11
12 A. Yes. ~ 09:01:33 12 Q. And what was the precipitating event in 09:03:12
13 Q. And is your understanding that that 09:01:33 13 the Crone matter? 09:03:14
14 psychological autopsy was prepared by amember of 09:01:35 | 14 MR. ALTMAN: Objection. Vague. 09:03:16
15 the Finkelstein law firm? 09:01:37 15 THE WITNESS: In my opinion, the 09:03:17
16 MR. ALTMAN: Objection. Calls for 09:01:39 16 precipitating event was the increase of Neurontin 09:03:18
17 speculation. 09:01:40 — 17 from 900 milligrams a day to 1800 milligrams aday 09:03:24
18 THE WITNESS: It has been my understanding 09:01:42 | 18 that was done on or about March 21st, or 09:03:29
19 that this -- in this case, and in the case we 09:01:43 19 March 22nd of 2002, several weeks before Mr. Crone 09:03:34
20 previously discussed and for which I was deposed, 09:01:45 20 committed suicide on April 13th, 2002. 09:03:42
21 ~~ was that the Finkelstein firm had extracted some of 09:01:48 21 BY MS. McGRODER: 09:03:45
22 _ the information from the records in putting together 09:01:52 22 Q. Is your testimony that had Mr. Crone's 09:03:45
23 the psychological autopsy, not Dr. Maris's report, 09:01:54 23 dosage of Neurontin not increased from 900 to 1800 09:03:48
24 which was Dr. Maris's own work. 09:02:00 © 24 milligrams, he would not have committed suicide? 09:03:52
25 BY MS. McGRODER: 09:02:03 25 MR. ALTMAN: Object. Misstates his 09:03:56
3 (Pages 6 to 9)

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106 108
1 other neurologic symptoms, would you agree that 11:08:21 1 important. 11:10:36
2 walking in front of a moving car on a freeway during 11:08:24 2 BY MS. McGRODER: 11:10:36
3 that time period for Mr..Crone would be more likely 11:08:27 3 Q. So you would have liked to have seen 11:10:36
4 suicidal ideation, or more likely psychosis? 11:08:31 4 Mrs. Crone’s diary in the lawsuit against the 11:10:39
5 MR. ALTMAN: Objection, vague, compound, 11:08:35 5 Petersons; correct? 11:10:42
6 calls for speculation. 11:08:37 6 MR. ALTMAN: Objection, foundation. 11:10:44
7 THE WITNESS: J absolutely accept itas 11:08:38 7 THE WIINESS: The same answer, whichis 11:10:45
8 _ being suicidal. 11:08:40 8 yes. 11:10:47
9 BY MS. McGRODER: 11:08:50 9 BY MS. McGRODER: 11:10:47
10 Q. You did not take into account at the time 11:08:51 10 Q. And that would have been important for you 11:10:47
11 __ that you formed your opinions in this case these 11:08:55 11. to look at prior to the time you formulated your =: 11:10:48
12 __ other instances of suicide ideation that Rick Crone 11:08:57 12 opinions about the cause of suicide in this case; 11:10:51
13 experienced; did you? 11:09:02 13 correct? 11:10:53
14 A. I did not have those specifics available 11:09:03 14 A. Not necessarily. Im not aware that it 11:10:57
15 tome, so] did not take them into account. 11:09:06 15 would change my opinion, but it would be helpful, 11:10:59
16 Q. Fair to say that you have not taken any 11:09:11 16 obviously, for me to see any additional information 11:11:02
17 _ steps to determine what might have precipitated 11:09:13 17 that would be available. 11:11:05
18 Mr. Crone's thoughts about driving offthe roadin 11:09:16 18 Q. Well, what would it take to change 11:11:06
19 an attempt to harm himself? 11:09:19 19 your posi- — excuse me, what would it take to 11:11:08
20 MR. ALTMAN: Objection, foundation. 11:09:21 20 change your opinion in this case that it was 41:11:10
21 THE WITNESS: It is fair to say that. 11:09:22 21 Neurontin that was a substantial factor in causing 11:11:12
22 BY MS.McGRODER: 11:09:24 22 Mr. Crone’s suicide? 11:11:16
23 Q. Is it fair to say also that you have taken 11:09:24 23 MR. ALTMAN: Objection. Vague, compound, 11:11:17
24 no steps to determine what precipitated Mr. Crone's 11:09:26 24 incomplete hypothetical. 11:11:19
25 long walks along the freeway in which ~ in which he 11:09:30 25 THE WITNESS: What would it take to change 11:11:21
107 109
1 considered throwing himself in frontofamoving 11:09:35 1 my opinion? 11:11:22
2 car? 11:09:38 2 BY MS. McGRODER: 11:11:23
3 MR. ALTMAN: Objection, foundation. 11:09:38 3 Q. Yes. Imean facts. Factual -- factual 11:11:24
4 THE WITNESS: It is fair to say thatas 11:09:39 4 circumstances. Any? 14:11:27
5 well. 11:09:41 5 A. Yes. 14:11:28
6 BY MS.McGRODER: 11:09:41 6 Q. What factual circumstances would have to 11:11:29
7 Q. Are you aware that Mrs. Crone createda 11:09:46 7 exist in this case in order for you to opine that it 11:11:30
8 diary in the Peterson lawsuit? 11:09:48 8 wasn't the Neurontin that caused Mr. Crone'’s 11:11:33
9 A. ITwas— 11:09:51 9 suicide? 11:11:35
10 MR. ALTMAN: Objection, foundation. 11:09:53 10 MR. ALTMAN: Objection. Vague. 11:11:36
11 THE WITNESS: I was not aware ofthat. 11:09:54 il THE WITNESS: I would —Ijust wantto 11:11:40
12 BY MS.McGRODER: 11:09:55 12 think about this fora minute. Iwouldreconsider 11:11:44
13 Q. You've never seen a copy of that diary? 11:09:55 13 my opinion if gabapentin in the toxicology reports 11:11:49
14 A. Thave not. 11:09:58 14 was not found at the level of 49 micrograms permL. 11:11:55
15 Q. Would Mrs. Crone's summary of the 11:10:00 15 And ifthe laboratory performing that result stated 11:12:03
16 events -- strike that. 11:10:04 16 that that was an error. 11:12:07
17 Would Mrs. Crone's summary of symptoms she 11:10:07] 17 BY MS. McGRODER: 11:12:11
18 believed that Mr. Crone experienced as aresult of 11:10:11 18 Q. So- 11:12:12
19 the fall off the deck contained in that diary, would 11:10:14 19 A. Iwould— 11:12:13
20 those be important to your opinions in this case? —_- 11:10:19 20 Q. Im sorry, you weren't finished? 11:12:14
21 MR. ALTMAN: Objection, foundation, 11:10:21 21 A. TImnot-- 11:12:16
22 — speculation, incomplete hypothetical. 11:10:22 22 Q. Okay. 11:12:19
23 THE WITNESS: Any and all information 11:10:24 23 A. - finished, yeah. 11:12:19
24 about his emotional life and the issues and problems 11:10:26 j 24 My opinion might be reconsidered -- let me 11:12:21
25 __ that he had before his suicide would be relevant and 11:10:32 25 restate the second issue. Another issue forme in 11:12:26

 

 

28 (Pages 106 to 109)
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110 112
1 this case was that Dr. Jennings had testified in 11:12:29 1 A. Yes. 11:25:53
2 part that he probably wrote three prescriptions for 11:12:35 2 Q. Have you reviewed Scott Sherman's records? 11:25:53
3 Mr. Crone prior -- in the March 20th visit in his 11:12:40 3 A. Ihave not in about a year andahalf 11:25:56
4 office. And the question there was, did he writea 11:12:46 4 unfortunately, so... 11:25:58
5 prescription for Neurontin or not? 11:12:50 5 Q. I-- what we're marking as Exhibit 5 and = 11:25:59
6 We have the records from, I think, Moran's 11:12:54 6 Tm handing to you, you can refer to them as you 11:26:05
7 ~~ Pharmacy, M-O-R-A-N, apostrophe S, that in factthe 11:12:57] 7 needto. Okay? 11:26:05
8 prescription for Neurontin was written and-and 11:13:03 8 A. Okay. 11:26:06
9 filled. 11:13:07 9 --- 11:26:06
10 So we have a -- a issue here of -- that 11:13:13 10 (Whereupon the document was marked, 11:26:06
11 would make me reconsider things if we knew that 11:13:19 | 11 for identification purposes, as Exhibit 11:26:06
12 Dr. Jennings had not refilled that prescription, and 11:13:23 12 Number 5.) 11:26:06
13 there ~ if we knew for a fact that there wasno —:11:13:26 13 oo 11:26:07
14 Neurontin available or in the household, which would 11:13:29 | 14 BY MS. McGRODER: 11:26:08
15 have to be then in concert with a negative 11:13:33 15 Q. In the summer of 1999, Mr. Sherman's 11:26:15
16 toxicological report. 11:13:36 16 records reflect that Mr. Crone was inastateof 11:26:20
i7 It would also alter my opinion, 14:13:38 17 profound depression and had a strong sense of 11:26:25
18 potentially, if this case were ruled by the coroner 11:13:41 18 uselessness. 11:26:28
19 ahomicide as opposed to a suicide. 11:13:57 19 Do you recall those records? 11:26:29
20 BY MS. McGRODER: 11:14:01 20 A Idon't. 11:26:30
21 Q. Anything else? 13:14:01 21 MR. ALTMAN: Objection. Foundation. 11:26:31
22 A. Not that I can think of as I sit here 11:14:04 22 THE WITNESS: I don't. 11:26:32
23 right now. 11:14:06 23 BY MS. McGRODER: 11:26:32
24 MS. McGRODER: Okay. Let's take ashort 11:14:07 | 24 Q. If--ifyou would like to, go ahead and = 11:26:33
25 break to change the tape. 11:14:08 25 lookat the record dated July 16, 1999. Itsays 11:26:35
11] 113
1 THE VIDEOGRAPHER: The marks the endof 11:14:10 | 1 worked more on issue of lack of energy, profound —11:26:49
2 — tape number one in the deposition of Stefan 11:14:12 2 depression and strong sense of uselessness, also 11:26:53
3 Kruszewski, MD. 11:14:15 3 problems with not finding right medications and of 11:26:57
4 The time is 11:14 a.m. and weare offthe 11:14:18 4 having to use medications to deal with pain, did 11:27:00
5 record. 11:14:21 5 some work on pain reduction. 11:27:03
6 (Recess taken.) 11:14:27 6 Do you see that? 11:27:04
7 THE VIDEOGRAPHER: The time -~- this marks 11:25:18 | 7 A Yes. 11:27:05
8 beginning of disk number two in the depositionof 11:25:20 8 Q. Did read that correctly? 11:27:05
9 Stefan Kruszewski, M.D. The time is 11:25am. We 11:25:24 9 A. Except it says "strong seems of 11:27:07
10 are back on the record. 11:25:27 10 uselessness." There's lots of typos in — 14:27:10
11 BY MS. McGRODER: 11:25:30 11 Q. Right. 41:27:14
12 Q. You are aware, Dr. Kruszewski, that Mr. -- 11:25:30 12 A. -- Mr. Sherman's notes. 11:27:14
13 A. Im just smiling at his voice, 11:25:34 13 Q. We're pretty sure that means sense. 11:27:15
14 because it's like -— 11:25:36 14 A. Yes. We-- 11:27:17
is Q. Melodic? 11:25:37 15 Q. Okay. 11:27:18
16 A. ~—Tlexpected jazz, you know, to come back 11:25:38 16 AL are. 11:27:19
17°) on. 11:25:40 17 Q. You don't refer to this record in your == 11:27:19
18 Q. You are aware that Mr. Crone alsosawa = 11:25:41 18 report; do you? 11:27:20
19 therapist named Scott Sherman; correct? 11:25:43 19 A. Ido not. 11:27:22
20 MR. ALTMAN: Objection. 11:25:46 20 Q. Do you refer at all in your report to any = 11:27:24
21 THE WITNESS: I'm —Im sorry. 11:25:46 21 of the records of Scott Sherman? 11:27:27
22 MR. ALTMAN: Foundation. 11:25:46 22 A. I don't believe that I do. 11:27:29
23 BY MS. McGRODER: 11:25:47 23 Q. Were the records of one of Rick Crone’s = 11:27:33
24 Q. You're aware that Mr. Crone saw a 11:25:48 24 therapists not important to you in your 11:27:36
25 _ therapist named Scott Sherman? 11:25:50 25 determination of the cause of his suicide? 11:27:40
29 (Pages 110 to 113)

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